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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                         SETTLEMENT CONFERENCE MINUTES


Jamal Samaha, et al.,                                       COURT MINUTES
                                                       BEFORE: David T. Schultz
       Plaintiffs (20-cv-1715),                       United States Magistrate Judge

and                                            Case Nos. 20-cv-1715 (KMM/DTS)
                                                         20-cv-1645 (KMM/DTS)
Nekima Levy Armstrong, et al.,
                                               Date:     8/22/22 – 10/4/22
       Plaintiffs (20-1645),                   Location: Courtroom 9E / Telephonic

v.                                             Total Time: 21 hrs. 14 mins.

City of Minneapolis, et al.,

       Defendants.


APPEARANCES:

       For Plaintiffs:   Joshua Rissman (for Samaha)
                         Ahmed Davis (for Levy Armstrong)

       For Defendants: Heather Robertson, Kristin Sarff, Sharda Enslin (City)




PROCEEDINGS:

       ___    No settlement reached.

       _X_    Binding potential settlement reached.


Date: October 4, 2022                          s/TJB
                                               Courtroom Deputy
